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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JACOB CORMAN, in his official              :   CIVIL ACTION NO. 1:18-CV-443
capacity as Majority Leader of the         :
Pennsylvania Senate, et al.,               :   Three-Judge Panel Convened
                                           :   Pursuant to 28 U.S.C. § 2284(a)
                    Plaintiffs             :
                                           :
             v.                            :
                                           :
ROBERT TORRES, in his official             :
capacity as Acting Secretary of the        :
Commonwealth, et al.,                      :
                                           :
                    Defendants             :

                                       ORDER

       BEFORE: Jordan, Circuit Judge; Conner, Chief District Judge; Simandle,
District Judge.

      AND NOW, this 23rd day of February, 2018, upon consideration of

plaintiffs’ verified complaint (Doc. 1) and contemporaneous motion (Doc. 3) for

temporary restraining order and preliminary injunction, requesting that the court

enjoin defendants from implementing the congressional redistricting map recently

crafted by the Supreme Court of Pennsylvania and order defendants to conduct the

Commonwealth of Pennsylvania’s May 2018 congressional primary election and

subsequent general election in accordance with the Pennsylvania Congressional

Redistricting Act of 2011, 25 PA. STAT. ANN. § 3596.101 et seq., and the court having

reviewed in extenso plaintiffs’ submissions, including the verified complaint, motion

for temporary restraining order, supporting brief, and attendant exhibits, and, upon

review of same, determining that the alleged injury articulated in plaintiffs’ motion
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is not so exigent as to justify issuance of temporary injunctive relief in light of

the court’s willingness to expedite resolution of plaintiffs’ motion for preliminary

injunction and the court favoring an opportunity for all parties to be heard, and

determining further that a preliminary injunction hearing can and shall convene

forthwith and that the above-captioned matter shall proceed on an expedited basis,

and further upon consideration of the pending motions (Docs. 5, 12) to intervene as

defendants pursuant to Federal Rule of Civil Procedure 24 filed by the League of

Women Voters of Pennsylvania, et al., and the National Democratic Redistricting

Committee, respectively, it is hereby ORDERED that:

      1.     Plaintiffs’ motion (Doc. 3) is DENIED as to the request for temporary
             restraining order but DEFERRED as to the request for a preliminary
             injunction.

      2.     Any opposition to the respective motions (Docs. 5, 12) to intervene
             shall be filed by 12:00 p.m. on Tuesday, February 27, 2018. Any reply
             in further support of the respective motions (Docs. 5, 12) to intervene
             shall be filed by 12:00 p.m. on Wednesday, February 28, 2018.

      3.     A scheduling hearing on plaintiffs’ motion (Doc. 3) for preliminary
             injunction and argument on the respective motions (Docs. 5, 12) to
             intervene shall commence at 1:30 p.m. on Thursday, March 1, 2018, in
             Courtroom #2, Ninth Floor, United States Courthouse and Federal
             Building, 228 Walnut Street, Harrisburg, Pennsylvania.

      4.     Defendants shall file a brief in response to plaintiffs’ motion (Doc. 2)
             for preliminary injunction by close of business on Friday, March 2,
             2018.

      5.     Motions to dismiss, if any, shall be filed together with supporting briefs
             by close of business on Friday, March 2, 2018. Briefs in opposition to
             any motion to dismiss shall be filed by 12:00 p.m. on Wednesday,
             March 7, 2018.
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  6.    A preliminary injunction hearing shall commence at 11:00 a.m. on
        Friday, March 9, 2018 in Courtroom #2, Ninth Floor, United States
        Courthouse and Federal Building, 228 Walnut Street, Harrisburg,
        Pennsylvania.



                                FOR THE COURT:


                                /S/ KENT A. JORDAN
                                Kent A. Jordan, Circuit Judge
                                United States Court of Appeals
                                for the Third Circuit

                                 /S/ CHRISTOPHER C. CONNER
                                Christopher C. Conner, Chief District Judge
                                United States District Court
                                for the Middle District of Pennsylvania

                                /S/ JEROME B. SIMANDLE
                                Jerome B. Simandle, District Judge
                                United States District Court
                                for the District of New Jersey
